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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                LAKE CHARLES DIVISION

  REBECCA HALBROOK                                *       CIVIL ACTION NO.: 2:18-CV-00700
                                                  *
                                                  *       JUDGE ROBERT R. SUMMERHAYS
  V.                                              *
                                                  *       MAGISTRATE JUDGE
                                                  *       KATHLEEN KAY
                                                  *
  SABINE STATE BANK & TRUST                       *
  COMPANY                                         *
  ****************************************************

                                             ORDER
           Considering the foregoing Motion to Dismiss with Prejudice;

           IT IS HEREBY ORDERED that the captioned case and all claims asserted against

  Sabine State Bank and Trust Co. are dismissed, with prejudice, with each pai1y to bear their own

  costs.

           Signed this 19th day of March, 2019.




                                                          ROBERT R. SUMMERHAYS
                                                          UN[TED STATES DISTRICT JUDGE




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